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 IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                   TENNESSEE, EASTERN DIVISION


UNITED STATES OF AMERICA          )
                                  )
                                  )
vs.                               )     NO. 17-cr-10067-STA
                                  )
                                  )
DAVID MATHIS                      )
                                  )
Defendant                         )

 ORDER GRANTING MOTION TO CONTINUE SENTENCING HEARING AND NOTICE
                           OF RESETTING

      Upon the Motion to Continue of the Defendant, and the

Government having no objection;

      IT IS HEREBY ORDERED THAT the Defendant’s Sentencing

Hearing presently set for June 18, 2018 @ 11:00 a.m. is reset to

Monday, August 20, 2018 at 10:30 a.m.



      IT IS SO ORDERED this 14th day of June, 2018.




                                  s/S.Thomas Anderson
                          CHIEF UNITED STATES DISTRICT JUDGE
